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                             UNITED STATES DISTRICT COURT

       FOR THE MIDDLE DISTRICT OF FLORIDA – JACKSONVILLE DIVISION

  ANTONIO HALL, SR.,                             CASE NO.:       3:18-cv-01372-HES-JRK

         Plaintiff,

  v.

  WELLS FARGO BANK, N.A.,

         Defendant.


       JOINT STIPULATION TO ARBITRATE CLAIMS AND STAY ACTION


         COME NOW Plaintiff Antonio Hall, Sr. (“Plaintiff”) and Defendant Wells Fargo

  Bank, N.A. (“Wells Fargo”) (Plaintiff and Wells Fargo shall collectively be referred to as

  the “Parties”), by and through their undersigned counsel, and hereby submit this Joint

  Stipulation to Arbitrate Claims and Stay Action pending the conclusion of arbitration,

  respectfully stating as follows:

         1.      Plaintiff commenced this action by filing a Complaint against Wells Fargo

  in the United States District Court for the Middle District of Florida – Jacksonville

  Division, Case Number 3:18-cv-01372-HES-JRK on or about November 19, 2018. See

  Doc. No. 1, Complaint.

         2.      The Parties, through their respective counsel of record, stipulate and agree

  to the terms as follows:

                 a.      The parties shall submit to binding non-judicial arbitration;

                 b.      The arbitration shall be conducted through AAA;




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                 c.      That the case be stayed pending arbitration, and that each Party

                         shall bear its own attorneys’ fees and costs as to this federal court

                         action;

                 d.      In all other respects, both parties explicitly agree to arbitrate this

                         dispute consistent with the rules of the dispute forum.

         3.      The Parties therefore respectfully request that this Court enter the Agreed

  Order, which orders that all of the claims in this lawsuit be submitted to final, binding

  arbitration and that this lawsuit be stayed.

         Respectfully submitted this 11th day of January, 2019.


  DATED: January 11, 2019                        /s/ Artin Betpera

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  DATED: January 11, 2019                        /s/ Shaughn C. Hill

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 11, 2019, I have served a copy of the foregoing document

by Notice of Electronic Filing or, if the party served does not participate in Notice of Electronic

Filing, by U.S. First Class Mail, hand delivery, facsimile or e-mail.

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                                               Artin Betpera




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